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 8
                                 UNITED STATES DISTRICT COURT
 9                              EASTERN DISTRICT OF CALIFORNIA

10
     United States of America,                    Case No.: 1:15-CR-00319 LJO-SKO
11
                  Plaintiff,
12                                                 STIPULATION MODIFYING
         vs.                                       CONDITIONS OR RELEASE AND
13                                                 ORDER
     Amador Faalaga,
14
                  Defendant.
15

16   To the parties, counsel, and the above-entitled court:
17      It is hereby stipulated between the Defendant, Amador Faalaga, by and through his
18   counsel, Nicco. Capozzi, and the Plaintiff, United States of America, by and through
19   Assistant United States Attorney Kathleen Servatius, that Defendant’s Conditions of Release
20   be modified to remove his location monitoring condition.
21
        The stipulation is also supported by Mr. Ryan Beckwith, United States Pretrial Services
22
     Officer, due to Mr. Faalaga’s continued positive behavior while on pretrial release.
23
         Dated:         March 6, 2017                   /s/Nicco Capozzi
24                                                      Nicco Capozzi
                                                        Attorney for Defendant
25

26
        Dated:          March 6, 2017                   /s/Kathleen Servatius
27
                                                        Kathleen Servatius
28                                                      Attorney for the United States
               Case 1:15-cr-00319-TLN Document 87 Filed 03/07/17 Page 2 of 2


 1
                                                 ORDER

 2   It is hereby ordered that the condition (entered on October 4, 2016) requiring that Mr.
 3
     Faalaga participate in location monitoring by way of curfew be removed from Mr. Amador
 4
     Faalaga’s condition of pre-trial release:
 5

 6      You shall participate in the following location monitoring program
        component and abide by all the requirements of the program, which will
 7      include having a location monitoring unit installed in your residence and a
 8      radio frequency transmitter device attached to your person. You shall
        comply with all instructions for the use and operation of said devices as
 9      given to you by the Pretrial Services Agency and employees of the
10      monitoring company. You shall pay all or part of the costs of the program
        based upon your ability to pay, as determined by the pretrial services officer;
11      CURFEW: You shall remain inside your residence every day from 9:00 PM to
        6:00 AM, or as adjusted by the pretrial services officer for medical, religious
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        services, employment or Court-ordered obligations.
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14
     It is hereby ordered that all other pre-trial release conditions shall remain in full force and
15
     effect.
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18   IT IS SO ORDERED.
19
        Dated:      March 7, 2017                         /s/ Barbara A. McAuliffe            _
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                                                    UNITED STATES MAGISTRATE JUDGE
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